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                                        November 11, 2021

VIA E-FILING
The Honorable Leonard P. Stark
U.S. District Court for the District of Delaware
844 North King Street
Wilmington, Delaware 19801

 Re:     Crystallex International Corporation v. Bolivarian Republic of Venezuela et al.,
         C.A. No. 17-mc-151-LPS

 Dear Judge Stark:

      We write on behalf of ConocoPhillips with regards to Crystallex’s November 10, 2021 letter
 to the Court, D.I. 399. ConocoPhillips was not party to discussions between Crystallex, the
 Venezuela Parties and counsel to the Special Master as referenced in Crystallex’s November 10,
 2021 letter. While ConocoPhillips has no issue with the proposed briefing format, and does not
 intend to file an opening submission on this issue, ConocoPhillips does respectfully request the
 opportunity to file a responsive brief, not to exceed 10 pages (double-spaced) by December 8 if it
 deems a response necessary.

       We thank the Court for its attention to this matter.


                                                       Respectfully submitted,

                                                       /s/ Garrett B. Moritz

                                                       Garrett B. Moritz (#5646)


cc:    All Counsel of Record
       Robert Pincus, Special Master
